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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                              Plaintiff,

                v.                                           Case No. 6:07CR10109-001-MLB

ROBERT GULLEDGE,

                              Defendant,

                and

PRECISION METAL WORKS, INC.,

                              Garnishee.

                      APPLICATION FOR WRIT OF GARNISHMENT

       Plaintiff United States of America makes application to the Clerk of the United States

District Court to issue a Writ of Garnishment as to the property of Defendant Robert Gulledge in

accordance with the Federal Debt Collection Procedures Act (FDCPA), 28 U.S.C. §3205.

       In support of its application Plaintiff United States represents the following.

       1.       The last known address of Defendant Robert Gulledge, SSN: ***-**-7345, is

Winslow, AR 72959.

       2.       A judgment, Doc. 17, was entered against Defendant Robert Gulledge in the

amount of $152,338.38 without interest, with a balance due of $79,264.75 as of April 18, 2024.

       3.       More than 30 days have passed since demand for payment of this judgment was

made to Defendant Robert Gulledge. The judgment debt remains unpaid.

       4.       Garnishee Precision Metal Works, Inc. is believed to have possession of property

in which Defendant Robert Gulledge has a substantial nonexempt interest or for which Garnishee

Precision Metal Works, Inc. is or may become indebted to Defendant Robert Gulledge.
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      Plaintiff United States respectfully requests the Clerk of Court issue a Writ of Garnishment

to:

               Precision Metal Works, Inc.
               6808 Alma Hwy
               Van Buren, AR 72956




                                                   Respectfully submitted,

                                                   KATE E. BRUBACHER
                                                   United States Attorney
                                                   District of Kansas


                                                   s/ Kathryn E. Sheedy
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